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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

     Plaintiff,
                                              NO. 22-CR-20519
v.

Cortez Blake,

         Defendant.


              PETITION FOR WRIT OF HABEAS CORPUS
                       AD PROSEQUENDUM


     Pursuant to 28 U.S.C. ' 2241(c)(5) and Local Rule 72.1(a)(2)(L), the United

States of America hereby petitions the court for a writ of habeas corpus ad

prosequendum for defendant, Cortez Blake, and states:

     Defendant is charged in this case with 18 U.S.C. § 1201(a)(1) and (c),

Kidnapping Conspiracy and 18 U.S.C. §§ 1201(a)(1), 2, Kidnapping, Aiding and

Abetting. Defendant is currently incarcerated at the Bellamy Creek Correctional

Facility in Ionia, Michigan in connection with a different case, and is in the

custody of the Michigan Department of Corrections.

     Defendant's Initial Appearance has been scheduled for Monday, December 12,

2022 before the United States Magistrate Judge on Duty, in Room 114 of the
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Theodore Levin U.S. Courthouse. A writ of habeas corpus ad prosequendum is

necessary to secure defendant=s presence at that proceeding.

   WHEREFORE, the government requests this Court order the issuance of a writ

of habeas corpus ad prosequendum directing the Michigan Department of

Corrections, the United States Marshals Service, and any other interested federal

law enforcement officer to produce Cortez Blake before the judicial officer and at

the place and time stated above.

                                             Respectfully submitted,

                                             DAWN N. ISON
                                             United States Attorney

                                             David Cowen
                                             David Cowen
                                             Assistant United States Attorney
                                             211 W. Fort Street, Suite 2001
                                             Detroit, MI 48226
                                             David.cowen@usdoj.gov
                                             (313) 226-9575


Date: November 9, 2022
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

     Plaintiff,
                                              NO. 22-CR-20519
v.

Cortez Blake,

     Defendant.


                                     ORDER


     Pursuant to 28 U.S.C. ' 2241(c)(5) and Local Rule 72.1(a)(2)(L), it is hereby

ordered that the government=s Petition for Writ of Habeas Corpus ad

prosequendum be granted and that the Clerk of the Court issue a writ of habeas

corpus ad prosequendum in accordance with the government=s petition.




                                              Hon. Kimberly G. Altman
                                              United States Magistrate Judge
Date:    November 9, 2022
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,

     Plaintiff,
                                              NO. 22-CR-20519
v.

Cortez Blake,

     Defendant.


         WRIT OF HABEAS CORPUS AD PROSEQUENDUM


TO: The Michigan Department of Corrections, the United States Marshals
    Service, and any other interested federal law enforcement officer.

     Pursuant to the foregoing petition and order, you are directed to produce

defendant Cortez Blake before the United States Magistrate Judge on Duty, in

room 114 of the Theodore Levin U.S. Courthouse on Monday, December 12, 2022,

at 1:00 p.m. for his Initial Appearance; and you are also directed to return Cortez

Blake to the facility in which he is currently incarcerated when his presence before

this Court is no longer required.

                                              KINIKIA D. ESSIX
                                              Clerk

                                                        s/S. Osorio
                                              By:
                                                       Deputy Clerk

                                              (Seal)
